         Case 22-50073      Doc 123     Filed 03/23/22    Entered 03/23/22 09:12:48         Page 1 of 2

                        United States Bankruptcy Court
                                 District of Connecticut
                                                                                      Filed and Entered
                                                                                          On Docket
                                                                                       March 23, 2022


In re:
         Ho Wan Kwok                                                              Case Number: 22−50073
         Debtor*                                                                  Chapter: 11




                                            NOTICE OF HEARING


Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

PLEASE TAKE NOTICE that Hearing will be held at 915 Lafayette Blvd., Room 123, Courtroom, Bridgeport,
CT 06604 on April 13, 2022 at 10:00 AM to consider and act upon the following matter(s):


             Application to Employ Brown Rudnick LLP as Counsel for the Debtor /Application of
             the Debtor for Entry of an Order Authorizing the Employment and Retention of Brown
             Rudnick LLP as Counsel for the Debtor (Re: Doc #86)

             Application to Employ Stretto, Inc. as Claims and Noticing Agent /Debtor's Application
             for Authorization to Retain and Employ Stretto as Claims and Noticing Agent (Re: Doc
             #87)

             Application to Employ Verdolino & Lowey, P.C. as Financial Advisor /Debtor's
             Application for Authorization to Retain and Employ Verdolino & Lowey, P.C. as
             Financial Advisor (Re: Doc #90)



NOTICE IS FURTHER GIVEN that, unless otherwise ordered by the court the initial hearing on the
foregoing will be a non−evidentiary hearing, and, may be continued or adjourned without further notice.

If you want the court to consider your response on the above−mentioned matter(s), then you or your attorney
must be in attendance on the above scheduled date. If you or your attorney do not attend the above scheduled
hearing, the court may decide that you do not oppose the relief sought in the above−referenced matter and
may enter an order granting that relief.

OBJECTION(S) DUE: April 6, 2022 before 4:00 p.m. Untimely objections may not be considered.




Dated: March 23, 2022


                                                                               Pietro Cicolini
                                                                               Clerk of Court
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United States Bankruptcy Court                                           Tel. (203) 579−5808
District of Connecticut                                                  VCIS* (866) 222−8029
915 Lafayette Boulevard                                                  * Voice Case Information System
Bridgeport, CT 06604                                                     http://www.ctb.uscourts.gov
                                                                         Form 112 − rms
